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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                                Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.


       SUPPLEMENTAL DECLARATION OF AILEEN NAKAMURA


      AILEEN NAKAMURA declares, under penalty of perjury, pursuant to 28

U.S.C. §1746, that the following is true and correct:

      1.       My name is Aileen Nakamura. I am over 18 years old.

      2.       I have personal knowledge of all facts stated in this declaration, and if

called to testify, I could and would testify competently thereto.

      3.       This declaration supplements my declarations of December 16, 2019

(Doc. 680-1, Ex. N); March 11, 2020 (Doc. 723, Ex. F); and August 2, 2020 (Doc.

755, Ex. 4).

      4.       I am a registered voter residing in Sandy Springs in Fulton County,

Georgia, and have been an active voter since my family moved to Sandy Springs in

2007. I make a practice of voting in every election for which I am eligible and plan

to continue to vote in every such election.

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our preferred presidential candidate, our mailbox was bashed in, and many yard

signs were pulled out. Therefore, I was very careful to keep my choices as hidden

as possible while voting, and instructed Saya to do the same, because I am afraid

someone who does not like our choices could create trouble for us again. I hurried

through my choices on the more sensitive contests displayed, rather than taking my

time to check accuracy and make any last minute considerations as I would have

done with a hand marked paper ballot marked in private.

      August 11 Runoff Election

      26.    For the August 11 election, my husband, daughter, and I all applied

for our absentee ballots via email on July 31. While all of our MVPs showed that

our ballots had finally been received on August 6 and issued on August 7th, none of

us had received our ballot by the 11th, so, just like in June, we reluctantly went to

vote at the Sandy Springs Library on Election Day.

      27.    Once I was checked in, the poll worker slid a SmartCard through the

Poll Pad encoder to set my ballot style. However, the card did not seem to

activate, so the poll worker got another card and tried to encode it. That one did

not work either. I feared that I would be a victim of Election Day PollPad

malfunctions which are a well-known widespread problem, and that I would be

forced to vote a provisional ballot. These frequently occurring PollPad Election

Day problems are an additional reason I choose not to vote on Election Day at my


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precinct if at all possible. For whatever reason, the third card finally worked, but

by the time I finally reached a touchscreen machine, Russ and Saya were already

done.

        28.   My husband’s absentee ballot arrived in our mailbox 4 days after the

election. To this day, Saya’s and my Absentee Mail Ballots for both the June 9

and August 11 elections have not arrived in our mailbox.

        Executed on this date, February 11th, 2021.




        Aileen Nakamura




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